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                EXHIBIT 5
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 1   George Brandon (No. 017947) george.brandon@squirepb.com
     Gregory A. Davis (No. 025976) gregory.davis@squirepb.com
 2
     Gregory S. Schneider (No. 029660) gregory.schneider@squirepb.com
 3   SQUIRE PATTON BOGGS (US) LLP
     One East Washington Street, Suite 2700
 4   Phoenix, Arizona 85004
 5   Telephone: (602) 528-4000
     Facsimile: (602) 253-8129
 6   Attorneys for Defendants Financial Industry Regulatory Authority, Inc.
     and Scott M. Andersen
 7
 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE DISTRICT OF ARIZONA
10
11   John J. Hurry and Justine Hurry, as husband       Case No. 14-cv-02490-PHX-ROS
     and wife; Investment Services Corporation,
12   an Arizona corporation, et al.,
13                                                     ANSWER OF FINANCIAL
                      Plaintiffs,                      INDUSTRY REGULATORY
14                                                     AUTHORITY, INC. AND SCOTT
            v.
15                                                     ANDERSEN TO PLAINTIFFS’
     Financial Industry Regulatory Authority,          SECOND AMENDED COMPLAINT
16   Inc., a Delaware corporation, Scott M.
17   Andersen, a natural person, et al.,

18                    Defendants.
19          Defendants Financial Industry Regulatory Authority, Inc. (“FINRA”) and Scott
20   Andersen, for their answer to plaintiffs’ second amended complaint (“complaint”) [Doc. #
21   71], state:
22          1.     FINRA and Andersen deny the allegations in paragraph 1 of plaintiffs’
23   complaint.
24          2.     FINRA and Andersen admit that the Hurrys operate companies that are
25   FINRA members, including Scottsdale Capital Advisors Corporation and Alpine
26   Securities Corporation. FINRA and Andersen lack knowledge or information sufficient to

27   form a belief about the truth of the remaining allegations in paragraph 2 of plaintiffs’

28   complaint.


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 1          3.     FINRA and Andersen lack knowledge or information sufficient to form a
 2   belief about the truth of the allegations in paragraph 3 of plaintiffs’ complaint.
 3          4.     FINRA and Andersen deny the allegations in paragraph 4 of plaintiffs’

 4   complaint.

 5          5.     FINRA and Andersen deny the allegations in paragraph 5 of plaintiffs’

 6   complaint.
            6.     FINRA and Andersen deny the allegations in paragraph 6 of plaintiffs’
 7
     complaint.
 8
            7.     FINRA and Andersen deny the allegations in paragraph 7 of plaintiffs’
 9
     complaint.
10
            8.     FINRA and Andersen admit that John Hurry is a natural person. FINRA
11
     and Andersen lack knowledge or information sufficient to form a belief about the truth of
12
     the remaining allegations in paragraph 8 of plaintiffs’ complaint.
13
            9.     FINRA and Andersen admit that Justine Hurry is a natural person. FINRA
14
     and Andersen lack knowledge or information sufficient to form a belief about the truth of
15   the remaining allegations in paragraph 9 of plaintiffs’ complaint.
16          10.    FINRA and Andersen lack knowledge or information sufficient to form a
17   belief about the truth of the allegations in paragraph 10 of plaintiffs’ complaint.
18          11.    FINRA and Andersen lack knowledge or information sufficient to form a
19   belief about the truth of the allegations in paragraph 11 of plaintiffs’ complaint.
20          12.    FINRA and Andersen lack knowledge or information sufficient to form a
21   belief about the truth of the allegations in paragraph 12 of plaintiffs’ complaint.

22          13.    FINRA and Andersen lack knowledge or information sufficient to form a

23   belief about the truth of the allegations in paragraph 13 of plaintiffs’ complaint.

24          14.    FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 14 of plaintiffs’ complaint.
25
            15.    FINRA and Andersen lack knowledge or information sufficient to form a
26
     belief about the truth of the allegations in paragraph 15 of plaintiffs’ complaint.
27
            16.    FINRA and Andersen lack knowledge or information sufficient to form a
28
     belief about the truth of the allegations in paragraph 16 of plaintiffs’ complaint.
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 1          17.    FINRA and Andersen lack knowledge or information sufficient to form a
 2   belief about the truth of the allegations in paragraph 17 of plaintiffs’ complaint.
 3          18.    FINRA and Andersen lack knowledge or information sufficient to form a

 4   belief about the truth of the allegations in paragraph 18 of plaintiffs’ complaint.

 5          19.    FINRA and Andersen lack knowledge or information sufficient to form a

 6   belief about the truth of the allegations in paragraph 19 of plaintiffs’ complaint.
            20.    FINRA and Andersen lack knowledge or information sufficient to form a
 7
     belief about the truth of the allegations in paragraph 20 of plaintiffs’ complaint.
 8
            21.    FINRA and Andersen lack knowledge or information sufficient to form a
 9
     belief about the truth of the allegations in paragraph 21 of plaintiffs’ complaint.
10
            22.    FINRA and Andersen lack knowledge or information sufficient to form a
11
     belief about the truth of the allegations in paragraph 22 of plaintiffs’ complaint.
12
            23.    FINRA and Andersen lack knowledge or information sufficient to form a
13
     belief about the truth of the allegations in paragraph 23 of plaintiffs’ complaint.
14
            24.    FINRA and Andersen lack knowledge or information sufficient to form a
15   belief about the truth of the allegations in paragraph 24 of plaintiffs’ complaint.
16          25.    FINRA and Andersen lack knowledge or information sufficient to form a
17   belief about the truth of the allegations in paragraph 25 of plaintiffs’ complaint.
18          26.    FINRA and Andersen lack knowledge or information sufficient to form a
19   belief about the truth of the allegations in paragraph 26 of plaintiffs’ complaint.
20          27.    FINRA and Andersen lack knowledge or information sufficient to form a
21   belief about the truth of the allegations in paragraph 27 of plaintiffs’ complaint.

22          28.    FINRA and Andersen lack knowledge or information sufficient to form a

23   belief about the truth of the allegations in paragraph 28 of plaintiffs’ complaint.

24          29.    FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 29 of plaintiffs’ complaint.
25
            30.    FINRA and Andersen lack knowledge or information sufficient to form a
26
     belief about the truth of the allegations in paragraph 30 of plaintiffs’ complaint.
27
            31.    FINRA and Andersen lack knowledge or information sufficient to form a
28
     belief about the truth of the allegations in paragraph 31 of plaintiffs’ complaint.
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 1          32.    FINRA and Andersen lack knowledge or information sufficient to form a
 2   belief about the truth of the allegations in paragraph 32 of plaintiffs’ complaint.
 3          33.    FINRA and Andersen lack knowledge or information sufficient to form a

 4   belief about the truth of the allegations in paragraph 33 of plaintiffs’ complaint.

 5          34.    FINRA and Andersen lack knowledge or information sufficient to form a

 6   belief about the truth of the allegations in paragraph 34 of plaintiffs’ complaint.
            35.    FINRA and Andersen lack knowledge or information sufficient to form a
 7
     belief about the truth of the allegations in paragraph 35 of plaintiffs’ complaint.
 8
            36.    FINRA and Andersen lack knowledge or information sufficient to form a
 9
     belief about the truth of the allegations in paragraph 36 of plaintiffs’ complaint.
10
            37.    FINRA and Andersen lack knowledge or information sufficient to form a
11
     belief about the truth of the allegations in paragraph 37 of plaintiffs’ complaint.
12
            38.    FINRA and Andersen lack knowledge or information sufficient to form a
13
     belief about the truth of the allegations in paragraph 38 of plaintiffs’ complaint.
14
            39.    FINRA and Andersen admit the allegations in paragraph 39 of plaintiffs’
15   complaint.
16          40.    FINRA and Andersen admit that FINRA is a self-regulatory organization
17   that has regulatory authority delegated by Congress through the Securities Exchange Act
18   of 1934. FINRA and Andersen deny the remaining allegations in paragraph 40 of
19   plaintiffs’ complaint.
20          41.    FINRA and Andersen admit that Andersen is a natural person who
21   previously was employed by FINRA. FINRA and Andersen deny the remaining

22   allegations in paragraph 41 of plaintiffs’ complaint.

23          42.    FINRA and Andersen lack knowledge or information sufficient to form a

24   belief about the truth of the allegations in paragraph 42 of plaintiffs’ complaint.
            43.    FINRA and Andersen deny the allegations in paragraph 43 of plaintiffs’
25
     complaint.
26
            44.    FINRA and Andersen deny the allegations in paragraph 44 of plaintiffs’
27
     complaint.
28
            45.    FINRA and Andersen deny the allegations in paragraph 45 of plaintiffs’
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 1   complaint.
 2          46.      FINRA and Andersen deny the allegations in paragraph 46 of plaintiffs’
 3   complaint.

 4          47.      FINRA and Andersen admit that this Court has jurisdiction over plaintiffs’

 5   claims.

 6          48.      FINRA and Andersen admit that this Court has jurisdiction over the parties.
            49.      FINRA and Andersen admit that this Court has jurisdiction over the parties.
 7
            50.      FINRA and Andersen admit that this Court is the proper venue for the
 8
     resolution of plaintiffs’ claims.
 9
            51.      FINRA and Andersen incorporate the foregoing responses as if fully set
10
     forth herein.
11
            52.      FINRA and Andersen deny the allegations in paragraph 52 of plaintiffs’
12
     complaint.
13
            53.      FINRA and Andersen deny the allegations in paragraph 53 of plaintiffs’
14
     complaint.
15          54.      FINRA and Andersen lack knowledge or information sufficient to form a
16   belief about the truth of the allegations in paragraph 54 of plaintiffs’ complaint.
17          55.      FINRA and Andersen lack knowledge or information sufficient to form a
18   belief about the truth of the allegations in paragraph 55 of plaintiffs’ complaint.
19          56.      FINRA and Andersen admit that Scottsdale Partners is not a FINRA
20   member. FINRA and Andersen deny that Scottsdale Partners is not associated with a
21   FINRA member. FINRA and Andersen lack knowledge or information sufficient to form

22   a belief about the truth of the remaining allegations in paragraph 56 of plaintiffs’

23   complaint.

24          57.      FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 57 of plaintiffs’ complaint.
25
            58.      FINRA and Andersen lack knowledge or information sufficient to form a
26
     belief about the truth of the allegations in paragraph 58 of plaintiffs’ complaint.
27
            59.      FINRA and Andersen admit that in November 2012 Scottsdale Capital
28
     Advisors Corporation had offices at the Scottsdale Professional Plaza. FINRA and
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 1   Andersen lack knowledge or information sufficient to form a belief about the truth of the
 2   remaining allegations in paragraph 59 of plaintiffs’ complaint.
 3          60.    FINRA and Andersen admit the allegations in paragraph 60 of plaintiffs’

 4   complaint.

 5          61.    FINRA and Andersen lack knowledge or information sufficient to form a

 6   belief about the truth of the allegations in paragraph 61 of plaintiffs’ complaint.
            62.    FINRA and Andersen deny that they were at all times on notice of the
 7
     alleged location of Investment Services Corporation’s offices. FINRA and Andersen lack
 8
     knowledge or information sufficient to form a belief about the truth of the remaining
 9
     allegations in paragraph 62 of plaintiffs’ complaint.
10
            63.    FINRA and Andersen admit that Investment Services Corporation is not a
11
     FINRA member. FINRA and Andersen deny that Investment Services Corporation is not
12
     associated with a FINRA member, and they also deny the remaining allegations in
13
     paragraph 63 of plaintiffs’ complaint.
14
            64.    FINRA and Andersen lack knowledge or information sufficient to form a
15   belief about the truth of the allegations in paragraph 64 of plaintiffs’ complaint.
16          65.    FINRA and Andersen lack knowledge or information sufficient to form a
17   belief about the truth of the allegations in paragraph 65 of plaintiffs’ complaint.
18          66.    FINRA and Andersen lack knowledge or information sufficient to form a
19   belief about the truth of the allegations in paragraph 66 of plaintiffs’ complaint.
20          67.    FINRA and Andersen lack knowledge or information sufficient to form a
21   belief about the truth of the allegations in paragraph 67 of plaintiffs’ complaint.

22          68.    FINRA and Andersen lack knowledge or information sufficient to form a

23   belief about the truth of the allegations in paragraph 68 of plaintiffs’ complaint.

24          69.    FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 69 of plaintiffs’ complaint.
25
            70.    FINRA and Andersen lack knowledge or information sufficient to form a
26
     belief about the truth of the allegations in paragraph 70 of plaintiffs’ complaint.
27
            71.    FINRA and Andersen lack knowledge or information sufficient to form a
28
     belief about the truth of the allegations in paragraph 71 of plaintiffs’ complaint.
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 1          72.    FINRA and Andersen admit the allegations in paragraph 72 of plaintiffs’
 2   complaint.
 3          73.    FINRA and Andersen admit that FINRA’s November 12, 2012 on-site

 4   investigation was unannounced. FINRA and Andersen deny the remaining allegations in

 5   paragraph 73 of plaintiffs’ complaint.

 6          74.    FINRA and Andersen deny the allegations in paragraph 74 of plaintiffs’
     complaint.
 7
            75.    FINRA and Andersen lack knowledge or information sufficient to form a
 8
     belief about the truth of the allegations in paragraph 75 of plaintiffs’ complaint.
 9
            76.    FINRA and Andersen admit the allegations in paragraph 76 of plaintiffs’
10
     complaint.
11
            77.    FINRA and Andersen admit the allegations in paragraph 77 of plaintiffs’
12
     complaint. Scottsdale Capital Advisors, John Hurry, and others were charged in FINRA
13
     Matter No. 2014041724601.
14
            78.    FINRA and Andersen admit the allegations in paragraph 78 of plaintiffs’
15   complaint.
16          79.    FINRA and Andersen admit that a Rule 8210 Request was presented to an
17   employee of Scottsdale Capital Advisors during the November 12, 2012 on-site
18   investigation. FINRA and Andersen deny that the allegations in paragraph 79 of
19   plaintiffs’ complaint accurately reflect the contents of the Rule 8210 Request. FINRA and
20   Andersen lack knowledge or information sufficient to form a belief about the truth of the
21   remaining allegations in paragraph 79 of plaintiffs’ complaint.

22          80.    FINRA and Andersen admit that one Rule 8210 Request has been issued to

23   John Hurry regarding FINRA Matter No. 20120327319. FINRA and Andersen deny that

24   the allegations in paragraph 80 of plaintiffs’ complaint accurately reflect the contents of
     that Rule 8210 Request, and they also deny the remaining allegations in paragraph 80 of
25
     plaintiffs’ complaint.
26
            81.    FINRA and Andersen lack knowledge or information sufficient to form a
27
     belief about the truth of the allegations in paragraph 81 of plaintiffs’ complaint.
28
            82.    FINRA and Andersen lack knowledge or information sufficient to form a
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 1   belief about the truth of the allegations in paragraph 82 of plaintiffs’ complaint.
 2          83.    FINRA and Andersen lack knowledge or information sufficient to form a
 3   belief about the truth of the allegations in paragraph 83 of plaintiffs’ complaint.

 4          84.    FINRA and Andersen deny that the allegations in paragraph 84 of plaintiffs’

 5   complaint accurately reflect the contents of the Rule 8210 Request issued by FINRA, and

 6   they also deny the remaining allegations in paragraph 84 of plaintiffs’ complaint.
            85.    FINRA and Andersen deny that the allegations in paragraph 85 of plaintiffs’
 7
     complaint accurately reflect the contents of the Rule 8210 Request issued by FINRA, and
 8
     they also deny the remaining allegations in paragraph 85 of plaintiffs’ complaint.
 9
            86.    FINRA and Andersen deny that the allegations in paragraph 86 of plaintiffs’
10
     complaint accurately reflect the contents of the Rule 8210 Request issued by FINRA, and
11
     they also deny the remaining allegations in paragraph 86 of plaintiffs’ complaint.
12
            87.    FINRA and Andersen deny that the allegations in paragraph 87 of plaintiffs’
13
     complaint accurately reflect the contents of the so-called “privilege letter,” and they also
14
     deny the remaining allegations in paragraph 87 of plaintiffs’ complaint.
15          88.    FINRA and Andersen admit that Investment Services Corporation is not a
16   FINRA member. FINRA and Andersen deny the remaining allegations in paragraph 88 of
17   plaintiffs’ complaint.
18          89.    FINRA and Andersen deny the allegations in paragraph 89 of plaintiffs’
19   complaint.
20          90.    FINRA and Andersen deny the allegations in paragraph 90 of plaintiffs’
21   complaint.

22          91.    FINRA and Andersen deny that their conduct during the November 12,

23   2012 on-site investigation was improper. FINRA and Andersen lack knowledge or

24   information sufficient to form a belief about the truth of the remaining allegations in
     paragraph 91 of plaintiffs’ complaint.
25
            92.    FINRA and Andersen deny the allegations in paragraph 92 of plaintiffs’
26
     complaint.
27
            93.    FINRA and Andersen deny the allegations in paragraph 93 of plaintiffs’
28
     complaint.
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 1          94.    FINRA and Andersen deny the allegations in paragraph 94 of plaintiffs’
 2   complaint.
 3          95.    FINRA and Andersen admit that receiving a Wells Notice is a reportable

 4   event on a FINRA member’s Form U4. FINRA and Andersen lack knowledge or

 5   information sufficient to form a belief about the truth of the remaining allegations in

 6   paragraph 95 of plaintiffs’ complaint.
            96.    FINRA and Andersen lack knowledge or information sufficient to form a
 7
     belief about the truth of the allegations in paragraph 96 of plaintiffs’ complaint.
 8
            97.    FINRA and Andersen lack knowledge or information sufficient to form a
 9
     belief about the truth of the allegations in paragraph 97 of plaintiffs’ complaint.
10
            98.    FINRA and Andersen deny the allegations in paragraph 98 of plaintiffs’
11
     complaint.
12
            99.    FINRA and Andersen deny the allegations in paragraph 99 of plaintiffs’
13
     complaint.
14
            100.   FINRA and Andersen deny the allegations in paragraph 100 of plaintiffs’
15   complaint.
16          101.   FINRA and Andersen admit the hard drives of computers located at the
17   Scottsdale Professional Plaza were copied. FINRA and Andersen deny the remaining
18   allegations in paragraph 101 of plaintiffs’ complaint.
19          102.   FINRA and Andersen deny the allegations in paragraph 102 of plaintiffs’
20   complaint.
21          103.   FINRA and Andersen deny the allegations in paragraph 103 of plaintiffs’

22   complaint.

23          104.   FINRA and Andersen deny the allegations in paragraph 104 of plaintiffs’

24   complaint.
            105.   FINRA and Andersen deny the allegations in paragraph 105 of plaintiffs’
25
     complaint.
26
            106.   FINRA and Andersen admit that the Hurrys demanded that FINRA not
27
     review any material maintained in the copied computers. FINRA and Andersen deny the
28
     remaining allegations in paragraph 106 of plaintiffs’ complaint.
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 1          107.   FINRA and Andersen deny the allegations in paragraph 107 of plaintiffs’
 2   complaint.
 3          108.   FINRA and Andersen deny the allegations in paragraph 108 of plaintiffs’

 4   complaint.

 5          109.   FINRA and Andersen lack knowledge or information sufficient to form a

 6   belief about the truth of the allegations in paragraph 109 of plaintiffs’ complaint.
            110.   FINRA and Andersen deny the allegations in paragraph 110 of plaintiffs’
 7
     complaint.
 8
            111.   FINRA and Andersen admit safeguards are utilized to avoid review of
 9
     attorney-client privileged information. FINRA and Andersen deny the remaining
10
     allegations in paragraph 111 of plaintiffs’ complaint.
11
            112.   FINRA and Andersen lack knowledge or information sufficient to form a
12
     belief about the truth of the allegations in paragraph 112 of plaintiffs’ complaint.
13
            113.   FINRA and Andersen admit that the Hurrys were invited to provide search
14
     terms. FINRA and Andersen deny the remaining allegations in paragraph 113 of
15   plaintiffs’ complaint.
16          114.   FINRA and Andersen deny the allegations in paragraph 114 of plaintiffs’
17   complaint.
18          115.   FINRA and Andersen lack knowledge or information sufficient to form a
19   belief about the truth of the allegations in paragraph 115 of plaintiffs’ complaint.
20          116.   FINRA and Andersen lack knowledge or information sufficient to form a
21   belief about the truth of the allegations in paragraph 116 of plaintiffs’ complaint.

22          117.   FINRA and Andersen deny the allegations in paragraph 117 of plaintiffs’

23   complaint.

24          118.   FINRA and Andersen deny the allegations in paragraph 118 of plaintiffs’
     complaint.
25
            119.   FINRA and Andersen admit that the Hurrys provided a list of search terms.
26
     FINRA and Andersen lack knowledge or information sufficient to form a belief about the
27
     truth of the remaining allegations in paragraph 119 of plaintiffs’ complaint.
28
            120.   FINRA and Andersen admit that the search terms identified in paragraph
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 1   120 of plaintiffs’ complaint were provided by the Hurrys. FINRA and Andersen admit
 2   that some of the search terms provided by the Hurrys were rejected as being overbroad
 3   and not reasonably tailored to only target purportedly privileged material. FINRA and

 4   Andersen deny the remaining allegations in paragraph 120 of plaintiffs’ complaint.

 5          121.   FINRA and Andersen admit that the search terms identified in paragraph

 6   121 of plaintiffs’ complaint were provided by the Hurrys. FINRA and Andersen admit
     that some of the search terms provided by the Hurrys were rejected as being overbroad
 7
     and not reasonably tailored to only target purportedly privileged material. FINRA and
 8
     Andersen deny the remaining allegations in paragraph 121 of plaintiffs’ complaint.
 9
            122.   FINRA and Andersen admit that “ice cream” was a search term proposed
10
     by the Hurrys. FINRA and Andersen lack knowledge or information sufficient to form a
11
     belief about the truth of the remaining allegations in paragraph 122 of plaintiffs’
12
     complaint.
13
            123.   FINRA and Andersen deny the allegations in paragraph 123 of plaintiffs’
14
     complaint.
15          124.   FINRA and Andersen deny the allegations in paragraph 124 of plaintiffs’
16   complaint.
17          125.   FINRA and Andersen deny that the Hurrys have been cooperative. FINRA
18   and Andersen lack knowledge or information sufficient to form a belief about the truth of
19   the remaining allegations in paragraph 125 of plaintiffs’ complaint.
20          126.   FINRA and Andersen admit that the Hurrys proposed that the Hurrys self-
21   perform FINRA’s investigation. FINRA and Andersen deny the remaining allegations in

22   paragraph 126 of plaintiffs’ complaint.

23          127.   FINRA and Andersen admit that the Hurrys proposed that a third party

24   perform FINRA’s investigation. FINRA and Andersen deny the remaining allegations in
     paragraph 127 of plaintiffs’ complaint.
25
            128.   FINRA and Andersen admit that FINRA did not agree to allow the Hurrys
26
     or a third party to perform FINRA’s investigation for it. FINRA and Andersen deny the
27
     remaining allegations in paragraph 128 of plaintiffs’ complaint.
28
            129.   FINRA and Andersen deny the allegations in paragraph 129 of plaintiffs’
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 1   complaint.
 2          130.   FINRA and Andersen deny the allegations in paragraph 130 of plaintiffs’
 3   complaint.

 4          131.   FINRA and Andersen deny the allegations in paragraph 131 of plaintiffs’

 5   complaint.

 6          132.   FINRA and Andersen deny the allegations in paragraph 132 of plaintiffs’
     complaint.
 7
            133.   FINRA and Andersen admit that on February 27, 2013 the Hurrys
 8
     demanded that FINRA cease its investigation. FINRA and Andersen deny that the
 9
     allegations in paragraph 133 of plaintiffs’ complaint accurately reflect the contents of the
10
     Hurrys’ demand, and they also deny the remaining allegations in paragraph 133 of
11
     plaintiffs’ complaint.
12
            134.   FINRA and Andersen deny that the allegations in paragraph 134 of
13
     plaintiffs’ complaint accurately reflect the contents of communications between FINRA
14
     and the Hurrys regarding FINRA’s investigation, and they also deny the remaining
15   allegations in paragraph 134 of plaintiffs’ complaint.
16          135.   FINRA and Andersen admit that the Hurrys caused Investment Services
17   Corporation to file a lawsuit on March 8, 2013. FINRA and Andersen deny that the
18   allegations in paragraph 135 of plaintiffs’ complaint accurately reflects the contents of the
19   complaint filed in that lawsuit, and they also deny the remaining allegations in paragraph
20   135 of plaintiffs’ complaint.
21          136.   FINRA and Andersen admit that the complaint in the March 8, 2013 lawsuit

22   was never served. FINRA and Andersen lack knowledge or information sufficient to form

23   a belief about the truth of the remaining allegations in paragraph 136 of plaintiffs’

24   complaint.
            137.   FINRA and Andersen deny the allegations in paragraph 137 of plaintiffs’
25
     complaint.
26
            138.   FINRA and Andersen deny the allegations in paragraph 139 of plaintiffs’
27
     complaint.
28
            139.   FINRA and Andersen deny the allegations in paragraph 139 of plaintiffs’
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 1   complaint.
 2          140.   FINRA and Andersen admit that on December 20, 2012 Alpine Securities
 3   Corporation filed an application with FINRA. FINRA and Andersen deny that the

 4   allegations in paragraph 140 of plaintiffs’ complaint accurately reflect the contents of that

 5   application, and they also deny the remaining allegations in paragraph 140 of plaintiffs’

 6   complaint.
            141.   FINRA and Andersen deny the allegations in paragraph 141 of plaintiffs’
 7
     complaint.
 8
            142.   FINRA and Andersen deny that the allegations in paragraph 142 of
 9
     plaintiffs’ complaint accurately reflect the communications between FINRA and the
10
     Hurrys regarding the application of Alpine Securities Corporation. FINRA and Andersen
11
     deny that they harassed the Hurrys or invaded their privacy, and they also deny the
12
     remaining allegations in paragraph 142 of plaintiffs’ complaint.
13
            143.   FINRA and Andersen deny that the allegations in paragraph 143 of
14
     plaintiffs’ complaint accurately reflect the contents of documents the Hurrys provided
15   FINRA regarding the application of Alpine Securities Corporation, and they also deny the
16   remaining allegations in paragraph 143 of plaintiffs’ complaint.
17          144.   FINRA and Andersen deny the allegations in paragraph 144 of plaintiffs’
18   complaint.
19          145.   FINRA and Andersen admit that the application of Alpine Securities
20   Corporation was initially denied. FINRA and Andersen deny the remaining allegations in
21   paragraph 145 of plaintiffs’ complaint.

22          146.   FINRA and Andersen deny the allegations in paragraph 146 of plaintiffs’

23   complaint.

24          147.   FINRA and Andersen deny the allegations in paragraph 147 of plaintiffs’
     complaint.
25
            148.   FINRA and Andersen deny prompting the Nevada Secretary of State’s
26
     Securities Division to issue subpoenas on the Hurrys or their businesses. FINRA and
27
     Andersen lack knowledge or information sufficient to form a belief about the truth of the
28
     remaining allegations in paragraph 148 of plaintiffs’ complaint.
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 1          149.   FINRA and Andersen admit that FINRA conducted on-the-record
 2   interviews of persons associated with the Hurrys and their businesses. FINRA and
 3   Andersen deny the remaining allegations in paragraph 149 of plaintiffs’ complaint.

 4          150.   FINRA and Andersen deny the allegations in paragraph 150 of plaintiffs’

 5   complaint.

 6          151.   FINRA and Andersen deny the allegations in paragraph 151 of plaintiffs’
     complaint.
 7
            152.   FINRA and Andersen deny making any “false insinuations” during the
 8
     course of FINRA’s on-the-record interviews of persons associated with the Hurrys and
 9
     their businesses. FINRA and Andersen lack knowledge or information sufficient to form
10
     a belief about the truth of the remaining allegations in paragraph 152 of plaintiffs’
11
     complaint.
12
            153.   FINRA and Andersen deny that the allegations in paragraph 153 of
13
     plaintiffs’ complaint accurately reflect the contents of Andersen’s June 25, 2013
14
     communication with the Hurrys, and they also deny the remaining allegations in
15   paragraph 153 of plaintiffs’ complaint.
16          154.   FINRA and Andersen admit that the Hurrys objected to FINRA reviewing
17   information contained on the copied computers. FINRA and Andersen deny the
18   remaining allegations in paragraph 154 of plaintiffs’ complaint.
19          155.   FINRA and Andersen deny the allegations in paragraph 155 of plaintiffs’
20   complaint.
21          156.   FINRA and Andersen deny the allegations in paragraph 156 of plaintiffs’

22   complaint.

23          157.   FINRA and Andersen deny that the allegations in paragraph 157 of

24   plaintiffs’ complaint accurately reflect the contents of the Rule 8210 Request, and they
     also deny the remaining allegations in paragraph 157 of plaintiffs’ complaint.
25
            158.   FINRA and Andersen deny that the allegations in paragraph 158 of
26
     plaintiffs’ complaint accurately reflect the contents of FINRA’s on-the-record interviews
27
     of persons associated with the Hurrys and their businesses.
28
            159.   FINRA and Andersen deny that Andersen ever threatened the Hurrys.
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 1   FINRA and Andersen deny that the allegations in paragraph 159 of plaintiffs’ complaint
 2   accurately reflect the contents of the Hurrys’ June 26, 2013 correspondence, and they also
 3   deny the remaining allegations in paragraph 159 of plaintiffs’ complaint.

 4          160.   FINRA and Andersen deny the allegations in paragraph 160 of plaintiffs’

 5   complaint.

 6          161.   FINRA and Andersen deny that Andersen ever threatened the Hurrys.
     FINRA and Andersen deny that the allegations in paragraph 161 of plaintiffs’ complaint
 7
     accurately reflect the contents of the June 27, 2013 correspondence, and they also deny
 8
     the remaining allegations in paragraph 161 of plaintiffs’ complaint.
 9
            162.   FINRA and Andersen deny the allegations in paragraph 162 of plaintiffs’
10
     complaint.
11
            163.   FINRA and Andersen deny the allegations in paragraph 163 of plaintiffs’
12
     complaint.
13
            164.   FINRA and Andersen deny the allegations in paragraph 164 of plaintiffs’
14
     complaint.
15          165.   FINRA and Andersen deny that they falsely accused the Hurrys of anything.
16   FINRA and Andersen lack knowledge or information sufficient to form a belief about the
17   truth of the remaining allegations in paragraph 165 of plaintiffs’ complaint.
18          166.   FINRA and Andersen deny the allegations in paragraph 166 of plaintiffs’
19   complaint.
20          167.   FINRA and Andersen deny the allegations in paragraph 167 of plaintiffs’
21   complaint.

22          168.   FINRA and Andersen deny the allegations in paragraph 168 of plaintiffs’

23   complaint.

24          169.   FINRA and Andersen admit that FINRA conducted an on-the-record
     interview of John Hurry on September 19, 2013.
25
            170.   FINRA and Andersen deny that the allegations in paragraph 170 of
26
     plaintiffs’ complaint accurately reflect the contents of FINRA’s on-the-record interview of
27
     John Hurry, and they also deny the remaining allegations in paragraph 170 of plaintiffs’
28
     complaint.
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 1          171.   FINRA and Andersen admit that Rule 8210 Requests were presented to the
 2   Hurrys on October 7 and October 18, 2013. FINRA and Andersen deny that the
 3   allegations in paragraph 171 of plaintiffs’ complaint accurately reflect the contents of the

 4   Rule 8210 Requests, and they also deny the remaining allegations in paragraph 171 of

 5   plaintiffs’ complaint.

 6          172.   FINRA and Andersen deny the allegations in paragraph 172 of plaintiffs’
     complaint.
 7
            173.   FINRA and Andersen deny the allegations in paragraph 173 of plaintiffs’
 8
     complaint.
 9
            174.   FINRA and Andersen admit that the Hurrys provided some redacted
10
     documents to FINRA. FINRA and Andersen deny the remaining allegations in paragraph
11
     174 of plaintiffs’ complaint.
12
            175.   FINRA and Andersen lack knowledge or information sufficient to form a
13
     belief about the truth of the allegations in paragraph 175 of plaintiffs’ complaint.
14
            176.   FINRA and Andersen deny the allegations in paragraph 176 of plaintiffs’
15   complaint.
16          177.   FINRA and Andersen deny the allegations in paragraph 177 of plaintiffs’
17   complaint.
18          178.   FINRA and Andersen lack knowledge or information sufficient to form a
19   belief about the truth of the allegations in paragraph 178 of plaintiffs’ complaint.
20          179.    FINRA and Andersen lack knowledge or information sufficient to form a
21   belief about the truth of the allegations in paragraph 179 of plaintiffs’ complaint.

22          180.   FINRA and Andersen deny that the allegations in paragraph 180 of

23   plaintiffs’ complaint accurately reflect the contents of news articles written by Mr.

24   Meagher. FINRA and Andersen lack knowledge or information sufficient to form a belief
     about the truth of the remaining allegations in paragraph 180 of plaintiffs’ complaint.
25
            181.   FINRA and Andersen admit that Mr. Andersen was present at all on-the-
26
     record interviews taken as part of FINRA Matter No. 20120327319. FINRA and
27
     Andersen deny the remaining allegations in paragraph 181 of plaintiffs’ complaint.
28
            182.    FINRA and Andersen lack knowledge or information sufficient to form a
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 1   belief about the truth of the allegations in paragraph 182 of plaintiffs’ complaint.
 2          183.   FINRA and Andersen lack knowledge or information sufficient to form a
 3   belief about the truth of the allegations in paragraph 183 of plaintiffs’ complaint.

 4          184.   FINRA and Andersen lack knowledge or information sufficient to form a

 5   belief about the truth of the allegations in paragraph 184 of plaintiffs’ complaint.

 6          185.   FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 185 of plaintiffs’ complaint.
 7
            186.   FINRA and Andersen lack knowledge or information sufficient to form a
 8
     belief about the truth of the allegations in paragraph 186 of plaintiffs’ complaint.
 9
            187.   FINRA and Andersen admit that the Hurrys’ counsel contacted Mr.
10
     Andersen on December 3, 2013. FINRA and Andersen deny that the allegations in
11
     paragraph 187 of plaintiffs’ complaint accurately reflect the contents of the Hurrys’
12
     counsel’s communications. FINRA and Andersen lack knowledge or information
13
     sufficient to form a belief about the truth of the remaining allegations in paragraph 187 of
14
     plaintiffs’ complaint.
15          188.   FINRA and Andersen admit that FINRA’s response to the December 3,
16   2013 inquiry by the Hurrys’ counsel was conveyed by Brad Bennett not Scott Andersen.
17   FINRA and Andersen lack knowledge or information sufficient to form a belief about the
18   truth of the remaining allegations in paragraph 188 of plaintiffs’ complaint.
19          189.   FINRA and Andersen admit the allegations in paragraph 189 of plaintiffs’
20   complaint.
21          190.   FINRA and Andersen deny the allegations in paragraph 190 of plaintiffs’

22   complaint.

23          191.   FINRA and Andersen deny that the allegations in paragraph 190 of

24   plaintiffs’ complaint accurately reflect the contents of Mr. Bennett’s voicemail, and they
     also deny the remaining allegations in paragraph 191 of plaintiffs’ complaint.
25
            192.   FINRA and Andersen admit that the Deal Pipeline published an article
26
     about the Hurrys’ companies on December 6, 2013. FINRA and Andersen deny that the
27
     allegations in paragraph 192 of plaintiffs’ complaint accurately reflect the contents of Mr.
28
     Meagher’s article. FINRA and Andersen lack knowledge or information sufficient to
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 1   form a belief about the truth of the remaining allegations in paragraph 192 of plaintiffs’
 2   complaint.
 3          193.   FINRA and Andersen lack knowledge or information sufficient to form a

 4   belief about the truth of the allegations in paragraph 193 of plaintiffs’ complaint.

 5          194.   FINRA and Andersen lack knowledge or information sufficient to form a

 6   belief about the truth of the allegations in paragraph 194 of plaintiffs’ complaint.
            195.   FINRA and Andersen deny that the allegations in paragraph 195 of
 7
     plaintiffs’ complaint accurately reflect the contents of Mr. Meagher’s article, and they also
 8
     deny the remaining allegations in paragraph 195 of plaintiffs’ complaint.
 9
            196.   FINRA and Andersen deny that the allegations in paragraph 196 of
10
     plaintiffs’ complaint accurately reflect the contents of Mr. Meagher’s article, and they also
11
     deny the remaining allegations in paragraph 196 of plaintiffs’ complaint.
12
            197.   FINRA and Andersen lack knowledge or information sufficient to form a
13
     belief about the truth of the allegations in paragraph 197 of plaintiffs’ complaint.
14
            198.   FINRA and Andersen deny that the allegations in paragraph 198 of
15   plaintiffs’ complaint accurately reflect the contents of Mr. Meagher’s article, and they also
16   deny the remaining allegations in paragraph 198 of plaintiffs’ complaint.
17          199.   FINRA and Andersen lack knowledge or information sufficient to form a
18   belief about the truth of the allegations in paragraph 199 of plaintiffs’ complaint.
19          200.   FINRA and Andersen deny that the allegations in paragraph 200 of
20   plaintiffs’ complaint accurately reflect the contents of Mr. Meagher’s article, and they also
21   deny the remaining allegations in paragraph 200 of plaintiffs’ complaint.

22          201.   FINRA and Andersen deny the allegations in paragraph 201 of plaintiffs’

23   complaint.

24          202.   FINRA and Andersen deny the allegations in paragraph 202 of plaintiffs’
     complaint.
25
            203.   FINRA and Andersen admit receiving a letter from the Hurrys’ counsel
26
     dated January 9, 2014. FINRA and Andersen deny that the allegations in paragraph 203
27
     of plaintiffs’ complaint accurately reflect the contents of that letter. FINRA and Andersen
28
     lack knowledge or information sufficient to form a belief about the truth of the remaining
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 1   allegations in paragraph 203 of plaintiffs’ complaint.
 2          204.   FINRA and Andersen deny the allegations in paragraph 204 of plaintiffs’
 3   complaint.

 4          205.   FINRA and Andersen deny the allegations in paragraph 205 of plaintiffs’

 5   complaint.

 6          206.   FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 206 of plaintiffs’ complaint.
 7
            207.   FINRA and Andersen lack knowledge or information sufficient to form a
 8
     belief about the truth of the allegations in paragraph 207 of plaintiffs’ complaint.
 9
            208.   FINRA and Andersen admit that the Deal Pipeline published an article
10
     about the Hurrys on March 20, 2014. FINRA and Andersen deny that the allegations in
11
     paragraph 208 of plaintiffs’ complaint accurately reflect the contents of that article, and
12
     they also deny the remaining allegations in paragraph 208 of plaintiffs’ complaint.
13
            209.   FINRA and Andersen deny that the allegations in paragraph 209 of
14
     plaintiffs’ complaint accurately reflect the contents of an article published by the Deal
15   Pipeline on March 20, 2014, and they also deny the remaining allegations in paragraph
16   209 of plaintiffs’ complaint.
17          210.   FINRA and Andersen admit that FINRA received an email from the Hurrys’
18   counsel on March 21, 2014. FINRA and Andersen deny that the allegations in paragraph
19   210 of plaintiffs’ complaint accurately reflect the contents of that email, and they also
20   deny the remaining allegations in paragraph 210 of plaintiffs’ complaint.
21          211.   FINRA and Andersen deny that the allegations in paragraph 211 of

22   plaintiffs’ complaint accurately reflect the contents of Robert Colby’s communications,

23   and they also deny the remaining allegations in paragraph 211 of plaintiffs’ complaint.

24          212.   FINRA and Andersen admit the allegations in paragraph 212 of plaintiffs’
     complaint.
25
            213.   FINRA and Andersen deny the allegations in paragraph 213 of plaintiffs’
26
     complaint.
27
            214.   FINRA and Andersen deny the allegations in paragraph 214 of plaintiffs’
28
     complaint.
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 1          215.   FINRA and Andersen lack knowledge or information sufficient to form a
 2   belief about the truth of the allegations in paragraph 215 of plaintiffs’ complaint.
 3          216.   FINRA and Andersen admit that the Deal Pipeline published an article

 4   about the Hurrys on April 16, 2014. FINRA and Andersen deny that the allegations in

 5   paragraph 216 of plaintiffs’ complaint accurately reflect the contents of that article, and

 6   they also deny the remaining allegations in paragraph 216 of plaintiffs’ complaint.
            217.   FINRA and Andersen admit that FINRA received an email from the Hurrys’
 7
     counsel on April 17, 2014. FINRA and Andersen deny that the allegations in paragraph
 8
     217 of plaintiffs’ complaint accurately reflect the contents of that email. FINRA and
 9
     Andersen lack knowledge or information sufficient to form a belief about the truth of the
10
     remaining allegations in paragraph 217 of plaintiffs’ complaint.
11
            218.   FINRA and Andersen deny that the allegations in paragraph 218 of
12
     plaintiffs’ complaint accurately reflect the contents of Robert Colby’s communications,
13
     and they also deny the remaining allegations in paragraph 218 of plaintiffs’ complaint.
14
            219.   FINRA and Andersen deny the allegations in paragraph 219 of plaintiffs’
15   complaint.
16          220.   FINRA and Andersen deny the allegations in paragraph 220 of plaintiffs’
17   complaint.
18          221.   FINRA and Andersen lack knowledge or information sufficient to form a
19   belief about the truth of the allegations in paragraph 221 of plaintiffs’ complaint.
20          222.   FINRA and Andersen lack knowledge or information sufficient to form a
21   belief about the truth of the allegations in paragraph 222 of plaintiffs’ complaint.

22          223.   FINRA and Andersen lack knowledge or information sufficient to form a

23   belief about the truth of the allegations in paragraph 223 of plaintiffs’ complaint.

24          224.   FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 224 of plaintiffs’ complaint.
25
            225.   FINRA and Andersen lack knowledge or information sufficient to form a
26
     belief about the truth of the allegations in paragraph 225 of plaintiffs’ complaint.
27
            226.   FINRA and Andersen lack knowledge or information sufficient to form a
28
     belief about the truth of the allegations in paragraph 226 of plaintiffs’ complaint.
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 1          227.   FINRA and Andersen lack knowledge or information sufficient to form a
 2   belief about the truth of the allegations in paragraph 227 of plaintiffs’ complaint.
 3          228.   FINRA and Andersen lack knowledge or information sufficient to form a

 4   belief about the truth of the allegations in paragraph 228 of plaintiffs’ complaint.

 5          229.   FINRA and Andersen lack knowledge or information sufficient to form a

 6   belief about the truth of the allegations in paragraph 229 of plaintiffs’ complaint.
            230.   FINRA and Andersen lack knowledge or information sufficient to form a
 7
     belief about the truth of the allegations in paragraph 230 of plaintiffs’ complaint.
 8
            231.   FINRA and Andersen lack knowledge or information sufficient to form a
 9
     belief about the truth of the allegations in paragraph 231 of plaintiffs’ complaint.
10
            232.   FINRA and Andersen deny the allegations in paragraph 232 of plaintiffs’
11
     complaint.
12
            233.   FINRA and Andersen lack knowledge or information sufficient to form a
13
     belief about the truth of the allegations in paragraph 233 of plaintiffs’ complaint.
14
            234.   FINRA and Andersen lack knowledge or information sufficient to form a
15   belief about the truth of the allegations in paragraph 234 of plaintiffs’ complaint.
16          235.   FINRA and Andersen admit receiving notice of an alleged agreement
17   between the Hurrys and Wilson-Davis & Co., Inc. FINRA and Andersen lack knowledge
18   or information sufficient to form a belief about the truth of the remaining allegations in
19   paragraph 235 of plaintiffs’ complaint.
20          236.   FINRA and Andersen lack knowledge or information sufficient to form a
21   belief about the truth of the allegations in paragraph 236 of plaintiffs’ complaint.

22          237.   FINRA and Andersen lack knowledge or information sufficient to form a

23   belief about the truth of the allegations in paragraph 237 of plaintiffs’ complaint.

24          238.   FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 238 of plaintiffs’ complaint.
25
            239.   FINRA and Andersen admit having received a Continuing Membership
26
     Application requesting approval of a change in ownership of Wilson Davis & Co., Inc.
27
     FINRA and Andersen lack knowledge or information sufficient to form a belief about the
28
     truth of the remaining allegations in paragraph 239 of plaintiffs’ complaint.
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 1          240.   FINRA and Andersen deny the allegations in paragraph 240 of plaintiffs’
 2   complaint.
 3          241.   FINRA and Andersen deny that the allegations in paragraph 241 of

 4   plaintiffs’ complaint accurately reflect the contents of NASD Rule 1017 and FINRA’s

 5   Continuing Membership Guide, and they also deny the remaining allegations in paragraph

 6   241 of plaintiffs’ complaint.
            242.   FINRA and Andersen admit that FINRA imposed interim restrictions on
 7
     Wilson Davis & Co., Inc. FINRA and Andersen deny that the allegations in paragraph
 8
     242 of plaintiffs’ complaint accurately reflect the contents of those interim restrictions,
 9
     and they also deny the remaining allegations in paragraph 242 of plaintiffs’ complaint.
10
            243.   FINRA and Andersen deny that the allegations in paragraph 243 of
11
     plaintiffs’ complaint accurately reflect the contents of documents describing the purpose
12
     of and justification for the interim restrictions on Wilson Davis & Co., Inc., and they also
13
     deny the remaining allegations in paragraph 243 of plaintiffs’ complaint.
14
            244.    FINRA and Andersen deny that the allegations in paragraph 244 of
15   plaintiffs’ complaint accurately reflect the contents of documents describing the purpose
16   of and justification for the interim restrictions on Wilson Davis & Co., Inc., and they also
17   deny the remaining allegations in paragraph 244 of plaintiffs’ complaint.
18          245.   FINRA and Andersen lack knowledge or information sufficient to form a
19   belief about the truth of the allegations in paragraph 245 of plaintiffs’ complaint.
20          246.   FINRA and Andersen lack knowledge or information sufficient to form a
21   belief about the truth of the allegations in paragraph 246 of plaintiffs’ complaint.

22          247.   FINRA and Andersen lack knowledge or information sufficient to form a

23   belief about the truth of the allegations in paragraph 247 of plaintiffs’ complaint.

24          248.   FINRA and Andersen lack knowledge or information sufficient to form a
     belief about the truth of the allegations in paragraph 248 of plaintiffs’ complaint.
25
            249.   FINRA and Andersen lack knowledge or information sufficient to form a
26
     belief about the truth of the allegations in paragraph 249 of plaintiffs’ complaint.
27
            250.   FINRA and Andersen lack knowledge or information sufficient to form a
28
     belief about the truth of the allegations in paragraph 250 of plaintiffs’ complaint.
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 1          251.   FINRA and Andersen lack knowledge or information sufficient to form a
 2   belief about the truth of the allegations in paragraph 251 of plaintiffs’ complaint.
 3          252.   FINRA and Andersen admit that on September 12, 2014 FINRA issued a

 4   Wells Notice on John Hurry. FINRA and Andersen deny that the allegations in paragraph

 5   252 of plaintiffs’ complaint accurately reflect the contents of that Wells Notice. FINRA

 6   and Andersen lack knowledge or information sufficient to form a belief about the truth of
     the remaining allegations in paragraph 252 of plaintiffs’ complaint.
 7
            253.   FINRA and Andersen deny the allegations in paragraph 253 of plaintiffs’
 8
     complaint.
 9
            254.   FINRA and Andersen deny that the allegations in paragraph 254 of
10
     plaintiffs’ complaint accurately reflect the contents of communications between FINRA
11
     and Wilson Davis & Co., Inc. regarding the proposed change in ownership of Wilson
12
     Davis & Co., Inc., and they also deny the remaining allegations in paragraph 254 of
13
     plaintiffs’ complaint.
14
            255.   FINRA and Andersen deny that the allegations in paragraph 255 of
15   plaintiffs’ complaint accurately reflect the contents of communications between FINRA
16   and Wilson Davis & Co., Inc. regarding the proposed change in ownership of Wilson
17   Davis & Co., Inc., and they also deny the remaining allegations in paragraph 255 of
18   plaintiffs’ complaint.
19          256.   FINRA and Andersen admit that Wilson Davis & Co., Inc. withdrew its
20   Continuing Membership Application. FINRA and Andersen deny the remaining
21   allegations in paragraph 256 of plaintiffs’ complaint.

22          257.   FINRA and Andersen deny that the allegations in paragraph 257 of

23   plaintiffs’ complaint accurately reflect the contents of filings in the litigation regarding

24   Wilson Davis & Co., Inc. FINRA and Andersen deny that such litigation is still pending.
     FINRA and Andersen admit that FINRA argued that the SEC lacked jurisdiction to review
25
     Wilson Davis & Co., Inc.’s withdrawal of its Continuing Membership Application, which
26
     argument was accepted by the SEC and resulted in the SEC dismissing the application for
27
     review filed by WD Clearing, LLC on September 9, 2015. FINRA and Andersen lack
28
     knowledge or information sufficient to form a belief about the truth of the remaining
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 1   allegations in paragraph 257 of plaintiffs’ complaint.
 2          258–270. Plaintiffs’ first cause of action has been dismissed with prejudice. No
 3   response is therefore required to the allegations in paragraphs 258–270 of plaintiffs’

 4   complaint.

 5          271–284. Plaintiffs’ second cause of action has been dismissed with prejudice.

 6   No response is therefore required to the allegations in paragraphs 271–284 of plaintiffs’
     complaint.
 7
            285–293. Plaintiffs’ third cause of action has been dismissed with prejudice. No
 8
     response is therefore required to the allegations in paragraphs 285–293 of plaintiffs’
 9
     complaint.
10
            294–300. Plaintiffs’ fourth cause of action has been dismissed with prejudice. No
11
     response is therefore required to the allegations in paragraphs 294–300 of plaintiffs’
12
     complaint.
13
            301–305. Plaintiffs’ fifth cause of action has been dismissed with prejudice. No
14
     response is therefore required to the allegations in paragraphs 301–305 of plaintiffs’
15   complaint.
16          306–311. Plaintiffs’ sixth cause of action has been dismissed with prejudice. No
17   response is therefore required to the allegations in paragraphs 306–311 of plaintiffs’
18   complaint.
19          312–317. Plaintiffs’ seventh cause of action has been dismissed with prejudice.
20   No response is therefore required to the allegations in paragraphs 312–317 of plaintiffs’
21   complaint.

22          318–324. Plaintiffs’ eighth cause of action has been dismissed with prejudice. No

23   response is therefore required to the allegations in paragraphs 318–324 of plaintiffs’

24   complaint.
            325.     FINRA and Andersen incorporate the foregoing responses as if fully set
25
     forth herein.
26
            326.     FINRA and Andersen deny the allegations in paragraph 326 of plaintiffs’
27
     complaint.
28
            327.     FINRA and Andersen deny the allegations in paragraph 327 of plaintiffs’
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 1   complaint.
 2          328.   FINRA and Andersen deny the allegations in paragraph 328 of plaintiffs’
 3   complaint.

 4          329.   FINRA and Andersen deny the allegations in paragraph 329 of plaintiffs’

 5   complaint.

 6          330.   FINRA and Andersen deny the allegations in paragraph 330 of plaintiffs’
     complaint.
 7
            331.   FINRA and Andersen deny the allegations in paragraph 331 of plaintiffs’
 8
     complaint.
 9
            332.   FINRA and Andersen deny the allegations in paragraph 332 of plaintiffs’
10
     complaint.
11
            333.   FINRA and Andersen deny that the allegations in paragraph 333 of
12
     plaintiffs’ complaint accurately reflect the contents of news articles written by Bill
13
     Meagher. FINRA and Andersen deny the remaining allegations in paragraph 333 of
14
     plaintiffs’ complaint.
15          334.   FINRA and Andersen lack knowledge or information sufficient to form a
16   belief about the truth of the allegations in paragraph 334 of plaintiffs’ complaint.
17          335.    FINRA and Andersen deny the allegations in paragraph 335 of plaintiffs’
18   complaint.
19          336.   FINRA and Andersen deny that the information contained in Mr. Meagher’s
20   March 20, 2014 news article was known only by FINRA, the SEC, and Scottsdale Capital
21   Advisors. FINRA and Andersen lack knowledge or information sufficient to form a belief

22   about the truth of the remaining allegations in paragraph 336 of plaintiffs’ complaint.

23          337.   FINRA and Andersen deny that the allegations in paragraph 337 of

24   plaintiffs’ complaint accurately reflect the contents of Bill Meagher’s April 16, 2014 news
     article. FINRA and Andersen lack knowledge or information sufficient to form a belief
25
     about the truth of the remaining allegations in paragraph 337 of plaintiffs’ complaint.
26
            338.   FINRA and Andersen lack knowledge or information sufficient to form a
27
     belief about the truth of the allegations in paragraph 338 of plaintiffs’ complaint.
28
            339.   FINRA and Andersen deny the allegations in paragraph 339 of plaintiffs’
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 1   complaint.
 2          340.     FINRA and Andersen deny the allegations in paragraph 340 of plaintiffs’
 3   complaint.

 4          341.     FINRA and Andersen deny the allegations in paragraph 341 of plaintiffs’

 5   complaint.

 6          342.     FINRA and Andersen deny the allegations in paragraph 342 of plaintiffs’
     complaint.
 7
            343.     FINRA and Andersen deny the allegations in paragraph 343 of plaintiffs’
 8
     complaint.
 9
            344.     FINRA and Andersen deny the allegations in paragraph 344 of plaintiffs’
10
     complaint.
11
            345.     FINRA and Andersen deny the allegations in paragraph 345 of plaintiffs’
12
     complaint.
13
            346.     FINRA and Andersen deny the allegations in paragraph 346 accurately
14
     reflect the contents of FINRA’s Rules. FINRA and Andersen lack knowledge or
15   information sufficient to form a belief about the truth of the remaining allegations in
16   paragraph 346 of plaintiffs’ complaint.
17          347.     FINRA and Andersen deny the allegations in paragraph 347 of plaintiffs’
18   complaint.
19          348.     FINRA and Andersen deny the allegations in paragraph 348 of plaintiffs’
20   complaint.
21          349–364. Plaintiffs’ tenth cause of action has been dismissed with prejudice. No

22   response is therefore required to the allegations in paragraphs 349–364 of plaintiffs’

23   complaint.

24          365–378. Plaintiffs’ eleventh cause of action has been dismissed with prejudice.
     No response is therefore required to the allegations in paragraphs 365–378 of plaintiffs’
25
     complaint.
26
            379.     FINRA and Andersen incorporate the foregoing responses as if fully set
27
     forth herein.
28
            380.     FINRA and Andersen deny the allegations in paragraph 380 of plaintiffs’
                                              - 26 -
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 1   complaint.
 2          381.   FINRA and Andersen deny the allegations in paragraph 381 of plaintiffs’
 3   complaint.

 4          382.   FINRA and Andersen deny the allegations in paragraph 382 of plaintiffs’

 5   complaint.

 6          383.   FINRA and Andersen deny the allegations in paragraph 383 of plaintiffs’
     complaint.
 7
            384.   FINRA and Andersen deny the allegations in paragraph 384 of plaintiffs’
 8
     complaint.
 9
            385.   FINRA and Andersen deny the allegations in paragraph 385 of plaintiffs’
10
     complaint.
11
            386.   FINRA and Andersen deny the allegations in paragraph 386 of plaintiffs’
12
     complaint.
13
            387.   FINRA and Andersen deny the allegations in paragraph 387 of plaintiffs’
14
     complaint.
15          388.   FINRA and Andersen deny the allegations in paragraph 388 of plaintiffs’
16   complaint.
17          389.   FINRA and Andersen deny the allegations in paragraph 389 of plaintiffs’
18   complaint.
19          390–394. Plaintiffs’ thirteenth cause of action has been dismissed with prejudice.
20   No response is therefore required to the allegations in paragraphs 390–394 of plaintiffs’
21   complaint.

22          395–398. Plaintiffs’ fourteenth cause of action has been dismissed with prejudice.

23   No response is therefore required to the allegations in paragraphs 395–398 of plaintiffs’

24   complaint.
                                    AFFIRMATIVE DEFENSES
25
            A.     Plaintiffs have not alleged factual allegations stating a claim against Scott
26
     Andersen upon which relief can be granted. FINRA and Andersen deny that Scott
27
     Andersen is a proper party to this litigation.
28
            B.     Plaintiffs have not alleged a short and plain statement showing that each of
                                                 - 27 -
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 1   the various 29 named plaintiffs are entitled to relief.
 2          C.      FINRA and Andersen deny that any unknown and undisclosed defendants
 3   described by plaintiffs as John and/or Jane Does are proper parties to this litigation.

 4          D.      FINRA and Andersen are informed and believe that plaintiffs’ claims for

 5   prima facie tort, violation of the Privacy Act, intentional interference with contractual

 6   relations, public disclosure of private facts, and conspiracy (Causes of Action VII, VIII,
     X, XI, and XIV) fail to state a claim upon which relief can be granted.
 7
            E.      FINRA and Andersen are informed and believe that plaintiffs’ claims for
 8
     violation of the Computer Fraud and Abuse Act, trespass upon chattel, intrusion upon
 9
     seclusion, conversion, misappropriation of trade secrets, those portions of plaintiffs’ claim
10
     for defamation relating to FINRA’s on-the-record interviews, and plaintiffs’ Bivens claim
11
     (Causes of Action I, II, III, IV, V, VI, part of IX, and XIII) are barred by FINRA’s
12
     absolute immunity.
13
            F.      FINRA and Andersen are informed and believe that plaintiffs’ claims for
14
     defamation and false light fail because the alleged representations upon which those
15   claims are based are true.
16          G.      FINRA and Andersen are informed and believe that plaintiffs’ claims for
17   defamation and false light fail because the alleged representations upon which those
18   claims are based are merely statements of opinion.
19          H.      FINRA and Andersen are informed and believe that plaintiffs’ claims for
20   defamation and false light fail because the publication of the alleged representations upon
21   which those claims are based is not the cause of plaintiffs’ alleged damage.

22          I.      FINRA and Andersen are informed and believe that plaintiffs’ claims for

23   defamation and false light are time-barred in whole or in part by the applicable statute of

24   limitations.
            J.      FINRA and Andersen are informed and believe that plaintiffs’ claim for
25
     defamation fails because the alleged representations upon which that claim is based are
26
     not of or concerning plaintiffs.
27
            K.      FINRA and Andersen are informed and believe that plaintiffs’ claim for
28
     defamation fails because the alleged representations upon which that claim is based are
                                               - 28 -
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 1   not injurious to plaintiffs’ reputation.
 2          L.     FINRA and Andersen are informed and believe that plaintiffs’ claim for
 3   false light fails because the alleged representations upon which that claim is based do not

 4   portray plaintiffs in a false or misleading light.

 5          M.     FINRA and Andersen are informed and believe that plaintiffs’ claim for

 6   false light fails because the alleged representations upon which that claim is based are not
     highly offensive or embarrassing to a reasonable person of ordinary sensibilities.
 7
            N.     FINRA and Andersen are informed and believe that plaintiffs’ claim for
 8
     false light fails because the representations upon which that claim is based were not
 9
     published with reckless disregard as to their offensiveness to plaintiffs.
10
            WHEREFORE, having denied that plaintiffs are entitled to any relief and having
11
     answered plaintiffs’ second amended complaint, FINRA and Andersen respectfully
12
     request that this Court dismiss plaintiffs’ second amended complaint with prejudice,
13
     award FINRA and Andersen their costs incurred in defending against this action, and
14
     grant such other relief as may be just and proper.
15
16          RESPECTFULLY SUBMITTED this 2nd day of May, 2016.
17
                                                /s/ Gregory A. Davis
18                                              George Brandon
                                                Gregory A. Davis
19
                                                Gregory S. Schneider
20                                              SQUIRE PATTON BOGGS (US) LLP
                                                One East Washington Street, Suite 2700
21                                              Phoenix, Arizona 85004
22                                              Attorneys for Defendants Financial Industry
                                                Regulatory Authority, Inc. and Scott M. Andersen
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 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on May 2, 2016, I electronically filed the foregoing document
     with the Court using the CM/ECF System for filing and service on plaintiffs as listed
 3   below:
 4
                                Robert A. Mandel
 5                              Taylor C. Young
                                Peter A. Silverman
 6
                                taylor@mandelyoung.com
 7                              MANDEL YOUNG PLC
                                3001 E. Camelback Rd., Suite 140
 8                              Phoenix, Arizona 85016
 9                              Attorneys for Plaintiffs

10
11
     /s/ Sara Ramirez
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